Case 3:20-cv-00017-MMH-JBT Document 84 Filed 09/01/21 Page 1 of 2 PageID 1123



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

MERLIN KAUFFMAN,
an individual,

       Plaintiff,

v.                                                            CASE NO. 3:20-cv-17-MMH-JBT

TRANS HIGH CORPORTATION, a New
York company and HIGH TIMES HOLDING
CORPORATION, a Delaware company

      Defendants.
_______________________________/

              RESPONSE TO ORDER GRANTING DEFENDANTS’
         MOTION FOR EXTENSION OF TIME TO RETAIN NEW COUNSEL

       Defendants Trans High Corporation and High Times Holding Company (collectively,

“Defendants”) provide the following response pursuant to the Order Granting Defendants’ Motion

for Extension of Time to Retain New Counsel, entered on August 11, 2021:

       On August 31, 2021, the undersigned filed a notice of appearance, in compliance with the

orders entered on July 2, 2021 (DE 78) and August 11, 2021 (DE 82).



                                                    Respectfully submitted,

                                                    _/s/ Jesse Haskins____
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                                                    Attorney for Defendants
Case 3:20-cv-00017-MMH-JBT Document 84 Filed 09/01/21 Page 2 of 2 PageID 1124



                                CERTIFICATE OF SERVICE

       I certify that on September 1, 2021, the foregoing documents have been furnished by e-

portal to Concept Law Group, PA, 6400 N. Andrews Ave., Suite 500, Ft Lauderdale, FL 33309;

(754) 300-1500; rkain@complexip.com and dspielman@complexip.com and The Behar Law Firm,

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hrb@beharlegal.com and sms@beharlegal.com.


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